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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

 UNITED STATES OF AMERICA,     )          CR. NO. 03-00083-SOM-1
                               )
           Plaintiff,          )          ORDER DENYING DEFENDANT
                               )          CLINTON MAU’S MOTION FOR
                               )          COMPASSIONATE RELEASE
                               )
      vs.                      )
                               )
 CLINTON MAU,                  )
                               )
           Defendant.          )
                               )
 _____________________________ )

                 ORDER DENYING DEFENDANT CLINTON MAU’S
                    MOTION FOR COMPASSIONATE RELEASE

 I.         INTRODUCTION.

            In 2003, Defendant Clinton Mau entered a guilty plea to

 one count of conspiring to possess with intent to distribute 50

 grams or more of methamphetamine in violation of 21 U.S.C.

 §§ 841(a)(1), 841(b)(1)(A), 841(b)(1)(A), and 846.          In 2004, this

 court sentenced him to the mandatory minimum of 20 years in

 prison.   In 2018, Congress amended 21 U.S.C. § 841 as part of the

 First Step Act, but did not make that amendment retroactive.

 Under today’s law, Mau’s mandatory minimum sentence would be 15

 years.

            Mau now moves for compassionate release under 18 U.S.C.

 § 3582(c)(1)(A).     The primary basis for his motion is the recent

 amendment to 21 U.S.C. § 841.       Mau argues that the reduced

 sentence that he would receive today, along with his
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 susceptibility to COVID-19, justifies his early release.            This

 court disagrees.     After considering the First Step Act’s changes

 to the applicable mandatory minimums, Mau’s medical condition,

 his history, and his disciplinary record while incarcerated, this

 court concludes that Mau has not demonstrated that extraordinary

 and compelling circumstances warrant a reduction in his sentence.

 II.        ANALYSIS.

            Mau’s compassionate release request is governed by 18

 U.S.C. § 3582(c)(1)(A), which provides:

            [T]he court . . . upon motion of the
            defendant after the defendant has fully
            exhausted all administrative rights to appeal
            a failure of the Bureau of Prisons to bring a
            motion on the defendant’s behalf or the lapse
            of 30 days from the receipt of such a request
            by the warden of the defendant’s facility,
            whichever is earlier, may reduce the term of
            imprisonment (and may impose a term of
            probation or supervised release with or
            without conditions that does not exceed the
            unserved portion of the original term of
            imprisonment), after considering the factors
            set forth in section 3553(a) to the extent
            that they are applicable, if it finds that--

            (i) extraordinary and compelling reasons
            warrant such a reduction . . . .

            and that such a reduction is consistent with
            applicable policy statements issued by the
            Sentencing Commission.

 In other words, for the court to exercise its authority under

 § 3582(c)(1)(A), it must (1) find that the defendant exhausted

 his administrative remedies or that 30 days have passed since he

 filed an administrative compassionate relief request; (2) also

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 find, after considering the factors set forth in section 3553(a),

 that extraordinary and compelling reasons warrant a sentence

 reduction; and (3) find that such a reduction is consistent with

 the Sentencing Commission’s policy statements.          United States v.

 Scher, 2020 WL 3086234, at *2 (D. Haw. June 10, 2020).

            A.    Mau has satisfied the time-lapse requirement of 18
                  U.S.C. § 3582(c)(1)(A).

            Mau submitted an administrative compassionate release

 request to the warden of his prison on May 20, 2020, more than 30

 days before he filed this motion.         See ECF No. 145, PageID # 300.

 The Government is not contesting Mau’s satisfaction of the

 exhaustion requirement.      See id.     Accordingly, this court finds

 that Mau has fulfilled the first requirement of § 3582(c)(1)(A).

            B.    This court has discretion in determining whether
                  extraordinary and compelling reasons justify a
                  reduced sentence.

            This court therefore turns to § 3582(c)(1)(A)’s second

 requirement: whether extraordinary and compelling reasons warrant

 a sentence reduction.     In orders addressing compassionate release

 motions in other cases, this court has expressly recognized that

 it possesses considerable discretion in determining whether a

 particular defendant has established the existence of

 extraordinary and compelling reasons that justify early release.

 United States v. Kamaka, 2020 WL 2820139, at *2-3 (D. Haw. May

 29, 2020); see also United States v. Scher, 2020 WL 3086234, at



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 *2 (D. Haw. June 10, 2020); United States v. Cisneros, 2020 WL

 3065103, at *2 (D. Haw. Jun. 9, 2020).        In reaching that

 conclusion, this court noted that an Application Note to a

 relevant sentencing guideline was outdated.         This court did not

 view its discretion as limited by Sentencing Commission

 pronouncements that were at odds with the congressional intent

 behind recent statutory amendments.

            As amended by Congress, § 3582(c)(1)(A) states that a

 court’s conclusion that extraordinary and compelling

 circumstances warrant a reduction in sentence must be consistent

 with any applicable policy statements issued by the Sentencing

 Commission.    But following the First Step Act’s amendments to

 § 3582(c)(1)(A), the Sentencing Commission did not adjust its

 statements to make them consistent with the statutory amendment.

 A critical part of the statutory amendment was the provision

 allowing prisoners themselves to bring motions for compassionate

 release.   Previously, such motions had to originate with the

 Bureau of Prisons.     The Sentencing Commission did not adjust its

 own statements to reflect the statutory amendment, leaving in

 place statements premised on the Bureau of Prisons’ exclusive

 authority to bring compassionate release motions.          This court

 reads such statements as inapplicable to motions brought directly

 by prisoners.    This court’s exercise of discretion is consistent

 with the statutory amendment and at least the spirit of the


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 Sentencing Commission’s approach.        Kamaka, 2020 WL 2820139, at

 *2-3.

              The Government points out that other district judges

 have reached a different conclusion.        ECF No. 145, PageID # 318

 (citing United States v. Tufele, 2020 WL 5223775 (D. Haw. Sept.

 1, 2020)).     Tufele, which says that the Sentencing Commission’s

 guidance is binding, relies on two Supreme Court decisions:

 Dillon v. United States, 560 U.S. 817 (2010), and Stinson v.

 United States, 508 U.S. 36 (1993).        In Dillon, the Supreme Court

 held that when a statute instructs courts to rule in a manner

 that is “consistent with the applicable policy statements issued

 by the Sentencing Commission,” ordinarily, the policy statements

 are binding.    560 U.S. at 828-30.      And in Stinson, the Supreme

 Court held that commentary to the guidelines should be treated

 with the same deference as the guidelines themselves (unless the

 commentary is inconsistent with the Constitution, a statute, or

 the guideline itself).      508 U.S. at 39, 44-47.      Tufele therefore

 concluded that an Application Note to a sentencing guideline

 remained binding in the compassionate release context.           2020 WL

 5223775 at *3-6.

              Neither Dillon nor Stinson addressed a policy statement

 that had failed to account for the latest developments in the

 law.    In addressing Mau’s motion, this court has before it an

 Application Note issued before the First Step Act made


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 significant changes to 18 U.S.C. § 3582(c)(1)(A).          Under the old

 scheme, which allowed a court to consider a compassionate release

 request only if brought by the Director of the Bureau of Prisons

 on the inmate’s behalf, astonishingly few compassionate release

 motions were brought.     Following the 2018 statutory amendment,

 and in the context of the ongoing coronavirus pandemic, district

 judges are seeing a steady stream of motions by inmates

 themselves, which the Sentencing Commission’s Application Note

 does not contemplate.1

            This court has previously examined Application Note 1

 to section 1B1.13 of the Sentencing Guidelines, which relates to

 compassionate release motions.       This court reads Application Note

 1 as providing that extraordinary and compelling reasons warrant

 early release under any of four circumstances: if “(1) the

 defendant suffers from a terminal illness and certain other

 conditions are met; (2) the defendant suffers from a physical or

 mental condition that ‘substantially diminishes the ability of

 the defendant to provide self-care within the environment of a

 correctional facility and from which he or she is not expected to



       1
          It appears that the Sentencing Commission has not had
 the opportunity to revise the policy statement in response to the
 First Step Act, because, since the passage of the First Step Act,
 the Sentencing Commission has had only two voting commissioners.
 See, e.g., United States v. Haynes, 2020 WL 1941478, at *12 n.20
 (E.D.N.Y. Apr. 22, 2020). The guidelines cannot be amended until
 two more voting commissioners are appointed to constitute a
 quorum. Id.

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 recover;’ (3) certain family circumstances justify compassionate

 release; or (4) ‘[a]s determined by the Director of the Bureau of

 Prisons, there exists in the defendant’s case an extraordinary

 and compelling reason other than, or in combination with, [the

 first three categories of reasons].’”        Kamaka, 2020 WL 2820139,

 at *2 (quoting U.S.S.G § 1B1.13, Application Note 1).            Crucially,

 the final “catch-all” category applies only to the situation in

 which the Director of the Bureau of Prisons has made the required

 determination relating to compassionate release.

            That “catch-all” made sense when only the Director of

 the Bureau of Prisons could bring a compassionate release motion.

 The Sentencing Commission anticipated that the Director of the

 Bureau of Prisons, and not the courts, would rely on the four

 categories:

            A reduction under this policy statement may
            be granted only upon motion by the Director
            of the Bureau of Prisons pursuant to 18
            U.S.C. § 3582(c)(1)(A). The Commission
            encourages the Director of the Bureau of
            Prisons to file such a motion if the
            defendant [falls under any of the four
            enumerated categories]. The court is in a
            unique position to determine whether the
            circumstances warrant a reduction (and, if
            so, the amount of reduction), after
            considering the factors set forth in 18
            U.S.C. § 3553(a) and the criteria set forth
            in this policy statement, such as the
            defendant’s medical condition, the
            defendant’s family circumstances, and whether
            the defendant is a danger to the safety of
            any other person or to the community.

 U.S.S.G § 1B1.13, Application Note 4 (emphasis added).           In other

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 words, the Sentencing Commission anticipated that the Director of

 the Bureau of Prisons would file a compassionate release motion

 whenever it determined that an inmate fell into one of the four

 enumerated categories of extraordinary and compelling

 circumstances.    Even then, when a court considered the motion, it

 was expected to exercise discretion (after considering a broad

 range of criteria, such as the § 3553 factors, the defendant’s

 medical condition, and the defendant’s family circumstances).

 That is, when the Director of the Bureau of Prisons brought a

 motion to the court, the Sentencing Commission did not intend for

 the court to be bound by the four enumerated categories.            In

 particular, the Sentencing Commission did not intend for the

 court to be bound by the Director of the Bureau of Prisons’

 determination that “other reasons” justified early release.

            If courts were indeed bound by the “catch-all”

 category, and if that category only allowed the Director of the

 Bureau of Prisons to exercise discretion, then judicial review

 would be meaningless.     Courts would have to determine that

 extraordinary and compelling circumstances existed every time the

 Director of the Bureau of Prisons made such a determination.

 Courts would be nothing more than a rubber stamp.          That was not

 the vision the Sentencing Commission had even under the old

 scheme.   Instead, in noting that a court was in “a unique

 position to determine whether the circumstances warrant a


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 reduction,” the Sentencing Commission was clearly anticipating

 that courts would independently review such motions.             U.S.S.G

 § 1B1.13, Application Note 4.

            In sum, in Application Note 1, the Sentencing

 Commission addressed the four categories to the Director of the

 Bureau of Prisons, and not the courts.        Those categories are not

 “applicable” to compassionate release motions brought by inmates

 themselves.    See United States v. Brooker, --- F.3d ---, 2020 WL

 5739712, at *4-6 (2d Cir. Sept. 25, 2020) (“[W]e read the

 Guideline as surviving, but now applying only to those motions

 that the BOP has made.).      Even if the commentary applies to

 motions filed by inmates, a court’s exercise of discretion to

 make the determination formerly made by the Director of the

 Bureau of Prisons is consistent with the Sentencing Commission’s

 understanding of the scope of a court’s authority over the

 ultimate compassionate release decision.         See Kamaka, 2020 WL

 2820139, at *2.

            In allowing inmate motions, Congress gave no indication

 that judicial discretion was more constrained with inmate motions

 than with Bureau of Prisons motions.        It appears that Congress

 reasonably expected the Application Note to be amended.            That did

 not occur, apparently because of administrative rather than

 policy reasons.    As this court has already concluded, the

 outdated Application Note does not constrain this court’s


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 discretion in determining whether extraordinary and compelling

 circumstances warrant a reduction in a sentence.

              C.     Mau has not demonstrated that extraordinary and
                     compelling circumstances justify his early
                     release.

              Mau contends that extraordinary and compelling

 circumstances justify his early release here.          He relies

 primarily on the impact of the First Step Act on his sentence.

 This court sentenced him to the mandatory minimum of 20 years in

 prison, and he has served approximately 17 years of that

 sentence.    Mau argues that because today the mandatory minimum

 would only be 15 years in prison,2 he likely would have already

 been released had he been sentenced under today’s law.            ECF No.

 139, PageID # 60.

              This court has previously declined to rely on a

 statutory change as the sole consideration in granting a

 compassionate release request when Congress has not made the

 change retroactive.        United States v. Cisneros, 2020 WL 3065103,

 at *3-4 (D. Haw. June 9, 2020).        However, this court has held

 that a change in the law may be a relevant consideration to

 include among the factors being examined in determining whether

 extraordinary and compelling circumstances justify a sentence

 reduction.        Id.; accord United States v. Gouveia, 2020 WL

       2
         The law has changed to provide for a mandatory minimum of
 15 years, not, as Mau’s mother says in a letter attached to his
 motion, a maximum of 15 years. ECF No. 139-8, PageID # 126-27.

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 6065299, at *6 (D. Haw. Oct. 14, 2020).         Under § 3582(c)(1)(A), a

 court must consider whether a reduced sentence would reflect the

 seriousness of the defendant’s offense, promote respect for the

 law, provide just punishment for the offense, or afford adequate

 deterrence to criminal conduct.        A change in the law under which

 a defendant would receive a reduced sentence if sentenced today

 could affect all of those considerations.          United States v.

 Lavatai, 2020 WL 4275258, at *3 (D. Haw. July 24, 2020); accord

 Gouviea, 2020 WL 6065299, at *6.          Thus, “a defendant who would

 now be subject to a reduced sentence and who is particularly

 vulnerable to COVID-19 might show entitlement to compassionate

 release.”    Cisneros, 2020 WL 3065103, at *3.

             Mau contends that he is such a defendant.         The CDC

 currently lists the following conditions as creating an increased

 risk of a severe illness from COVID-19:

             *Cancer

             *Chronic kidney disease

             *COPD (chronic obstructive pulmonary disease)

             *Heart conditions, such as heart failure, coronary
             artery disease, or cardiomyopathies

             *Immunocompromised state (weakened immune system) from
             solid organ transplant

             *Obesity (body mass index [BMI] of 30 or higher but
             less than 40 or higher)
             *Severe Obesity (BMI of 40 or higher)

             *Sickle cell disease


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             *Smoking

             *Type 2 diabetes mellitus

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 people-with-medical-conditions.html?CDC_AA_refVal=https%3A%2F%2Fw

 ww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fneed-extra-precautions%2Fg

 roups-at-higher-risk.html (last visited October 13, 2020).

             The CDC also lists the following as possibly increasing

 the risk of a severe illness from COVID-19:

             *Asthma (moderate-to-severe)

             *Cerebrovascular disease (affects blood vessels and
             blood supply to the brain)

             *Cystic fibrosis

             *Hypertension or high blood pressure

             *Immunocompromised state (weakened immune system) from
             blood or bone marrow transplant, immune deficiencies,
             HIV, use of corticosteroids, or use of other immune
             weakening medicines

             *Neurologic conditions, such as dementia

             *Liver disease

             *Overweight (BMI of 25 or greater, but less than 30)

             *Pregnancy

             *Pulmonary fibrosis (having damaged or scarred lung
             tissues)

             *Thalassemia (a type of blood disorder)

             *Type 1 diabetes mellitus

 Id.

             Mau maintains that because of his hepatitis C and

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 asthma, if he contracts COVID-19,3 he will be at risk of a severe

 illness.    It is not clear from the record that either condition

 increases Mau’s risk of complications from the coronavirus.

             The CDC’s guidance does suggest that hepatitis C might

 place Mau at risk:

             Currently, we have no information about
             whether people with hepatitis B or hepatitis
             C are at increased risk for getting COVID-19
             or having severe COVID-19. However, based on
             available information and clinical expertise,
             older adults and people of any age who have
             serious underlying medical conditions,
             including people with liver disease, might be
             at higher risk for severe illness from
             COVID-19, particularly if the underlying
             medical conditions are not well controlled.

 https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/

 liver-disease.html#:~:text=Are%20people%20with%20hepatitis%20B,or

 %20having%20severe%20COVID%2D19 (last visited October 16, 2020).

 It therefore appears that the CDC believes that hepatitis C could

 increase an individual’s risk of complications because hepatitis

 C causes liver disease.4      Id.   Mau, however, explains that he is


       3
         COVID-19 is present at FCI Coleman, where Mau is housed.
 In its Opposition, the Government concedes that, as of September
 24, 2020 “0.026 of the inmate population is infected.” ECF No.
 145, PageID # 305. That is better stated as 2.6 percent, which
 is not insignificant.
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         Mau also argues that his hepatitis C could increase his
 risk of developing complications because the CDC states that
 individuals who have a weakened immune system might be at risk.
 ECF No. 139, PageID # 62. Specifically, the CDC has stated that
 individuals who have a weakened immune system “from blood or bone
 marrow transplant, immune deficiencies, HIV, use of
 corticosteroids, or use of other immune weakening medicines”

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 a “hepatitis C carrier,” which means that while he may

 “eventually develop chronic liver disease,” he has not yet done

 so.   ECF No. 139, PageID # 61 (emphasis added) (quotation marks

 omitted).    The CDC has not specifically addressed whether

 individuals like Mau who have hepatitis C but have not yet

 developed symptoms or suffered liver damage are nevertheless at

 risk.

             The CDC has also indicated that individuals with

 “moderate to severe” asthma could be at risk.          Mau has not even

 attempted to demonstrate that his asthma falls into that

 category.    Based on the present record, this court cannot

 conclude that his asthma places him at risk.          See Woolem v.

 United States, 2020 WL 2820140, at *5 (D. Haw. May 29, 2020)

 (holding that an inmate’s asthma did not support early release

 because “the court cannot discern from the record the severity of

 his asthma”).

             Finally, Mau speculates that he might have cancer

 because he has “untreated bowel issues” and has not yet received

 a colonoscopy.     ECF No. 139, PageID # 61.      Again, Mau has not met

 his burden of showing that there is a significant probability

 that he has cancer.      He has not, for instance, submitted anything



 could be at risk. Hepatitis C is not specifically listed. The
 CDC page dedicated to hepatitis C does not discuss whether
 hepatitis C might place someone at risk because of hepatitis C’s
 effects on the immune system.

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 discussing the likelihood that a patient with his particular

 symptoms has cancer.       Without such evidence, this court cannot

 conclude that it is likely that Mau has cancer simply because he

 has not received a colonoscopy.

              In sum, based on the record before it, this court

 cannot conclude that Mau is at particular risk if he contracts

 COVID-19.    Moreover, even if Mau’s risk is somewhat elevated,

 Mau’s history and disciplinary record weigh against a finding

 that extraordinary and compelling reasons justify a reduction in

 his sentence.

              In 1995, Mau was convicted of conspiring to distribute

 more than 100 grams of methamphetamine and sentenced to 55 months

 in prison.    ECF No. 114.    He completed his prison term but in

 2001 his supervised release status was twice revoked because of

 drug violations.     Id.    Neither revocation deterred Mau from

 further criminal activity, as the drug conspiracy alleged in the

 present case involved activity in 2003.

              Moreover, as Mau admits, his disciplinary record while

 incarcerated is “atrocious.”       ECF No. 139, PageID # 64.        Mau has

 been disciplined for 43 offenses during his 17 years of

 incarceration.     His record includes disciplinary actions for

 disruptive conduct, phone abuse, forging documents, the

 destruction of property, and numerous drug offenses.              ECF No.

 139-5; see also ECF No. 145 at 313-16.         That leaves this court


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 concerned that Mau will again violate the law if he is released

 early.

             Under § 3582(c)(1)(A), only extraordinary and

 compelling reasons can justify a reduction in an inmate’s

 sentence.    In Mau’s case, this court must consider the First Step

 Act’s changes to the applicable mandatory minimums, the totality

 of the medical information Mau has submitted, Mau’s criminal

 history, and his extensive and recent disciplinary record while

 incarcerated.     Based on the information Mau has submitted, this

 court cannot conclude that COVID-19 poses a heightened risk to

 Mau.   Moreover, this court cannot ignore Mau’s disciplinary

 record while in prison.      Mau has not demonstrated that

 extraordinary and compelling reasons warrant a reduction in his

 sentence or would be consistent with the Sentencing Commission’s

 policy statements.




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 III.        CONCLUSION.

             Mau’s request for compassionate release under 18 U.S.C.

 § 3582(c)(1)(A) is denied.

             It is so ordered.

             DATED: Honolulu, Hawaii, October 20, 2020.



                                     /s/ Susan Oki Mollway
                                     Susan Oki Mollway
                                     United States District Judge



 United States v. Mau, Cr. No. 03-00083-SOM-1; ORDER DENYING DEFENDANT CLINTON
 MAU’S MOTION FOR COMPASSIONATE RELEASE




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